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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re:                                          )
                                                )                           Bankruptcy Case No.
JEFFERY JOHN WEISS                              )                                11-35210 HRT
                                                )                                     Chapter 7
Debtor(s).                                      )
                                                )
Address:       839 Diamond Ridge Circle         )
               Castle Rock, CO 80108            )
                                                )
Last four digits of SS#:      4538              )



         ORDER FOR COMPLIANCE WITH FEDERAL BANKRUPTCY RULE 9013

       THIS MATTER comes before the Court on the Motion to Approve Settlement
Agreement (the “Motion”, docket #35), filed by December 14, 2011, by Plaintiffs Dr. John
Avens, Mark Barrand, Caroljean Bongo, John Brodbeck, Debra Cooper, Richard Deis, Jr., Diane
Gadziala, Robert and Kathy Hartman, Gerard Hernandez, Donna LaBoy, Dennis and Patricia
Mouser, Michael Occhiato, Joshua and Elizabeth Rosen, and Joshua and Meagan Stanek
(Movants). The Court has reviewed the Motion and will require Movants to comply with Rule
9013 and provide notice with opportunity to object to all creditors and other parties in interest.

        Accordingly, IT IS HEREBY ORDERED that Movants shall file a 9013-1 Notice and a
Certificate of Service in compliance with Rule 9013 by January 3, 2012. The Court will
consider the Motion upon the filing of a Certificate of Non-Contested or Contested Matter.

Dated:       December 20, 2011                          BY THE COURT:



                                                        Howard
                                                        H     d R.
                                                                R Tallman,
                                                                   T ll     Chief
                                                                            Chi f Judge
                                                                                  J d
                                                        United States Bankruptcy Court
